             Case: 20-10263    Document: 00515725325 Page: 1 Date Filed: 01/29/2021
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                            United States Court of Appeals
Certified as a true copy and issued for the Fifth Circuit                        United States Court of Appeals
as the mandate on Jan 29, 2021                  ___________
                                                                                          Fifth Circuit


Attest:
                                                                                        FILED
                                                                                  January 7, 2021
Clerk, U.S. Court of Appeals, Fifth Circuit
                                                 No. 20-10263
                                                ___________                        Lyle W. Cayce
                                                                                        Clerk
                 Sarah Lindsley,

                                                                        Plaintiff—Appellant,

                                                     versus

                 TRT Holdings, Incorporated; Omni Hotels Management
                 Corporation,

                                                             Defendants—Appellees.
                                     ____________________________

                                  Appeal from the United States District Court
                                      for the Northern District of Texas
                                           USDC No. 3:17-CV-2942
                                   ____________________________

                 Before Clement, Ho, and Duncan, Circuit Judges.

                                              JUDGMENT

                         This cause was considered on the record on appeal and was argued by
                 counsel.
                         IT IS ORDERED and ADJUDGED that the judgment of the
                 District Court is AFFIRMED IN PART and REVERSED IN PART,
                 and the cause is REMANDED to the District Court for further proceedings
                 in accordance with the opinion of this Court.
 Case: 20-10263    Document: 00515725325 Page: 2 Date Filed: 01/29/2021
Case 3:17-cv-02942-X Document 143 Filed 01/29/21 Page 2 of 3 PageID 5274
                                20-10263




          IT IS FURTHER ORDERED that each party bear its own costs
    on appeal.




                                   2
  Case: 20-10263    Document: 00515725329 Page: 1 Date Filed: 01/29/2021
 Case 3:17-cv-02942-X Document 143 Filed 01/29/21 Page 3 of 3 PageID 5275



                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                TEL. 504-310-7700
CLERK                                                     600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                         NEW ORLEANS, LA 70130

                           January 29, 2021


Ms. Karen S. Mitchell
Northern District of Texas, Dallas
United States District Court
1100 Commerce Street
Earle Cabell Federal Building
Room 1452
Dallas, TX 75242

      No. 20-10263    Lindsley v. TRT Holdings
                      USDC No. 3:17-CV-2942


Dear Ms. Mitchell,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk



                                 By: _________________________
                                 Melissa V. Mattingly, Deputy Clerk
                                 504-310-7719
cc w/encl:
     Mr. Jay D. Ellwanger
     Mr. Robin Clay Hoblit
     Mr. Michael Dale Hudlow Jr.
